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UNITED STATES COURT OF INTERNATIONAL TRADE
___________________________________________
                                          :
SAMSONITE LLC,                      :
                                          :
        Plaintiff,                        :
                                          : Court No. 24-00031
        v.                                :
                                          :
UNITED STATES,                            :
                                          :
        Defendant.                        :
__________________________________________:


                                         COMPLAINT


       Pursuant to the Rules of the United States Court of International Trade, Plaintiff,
Samsonite LLC (hereafter “Samsonite”), through its undersigned attorneys, alleges for its
complaint as follows:

       1.      Jurisdiction of the United States Court of International Trade over the subject
matter of this civil action is invoked pursuant to 28 U.S.C. § 1581(a).
       2.      Plaintiff has standing under 28 U.S.C. § 2631, as amended, to prosecute this civil
action to contest the denial, pursuant to Section 515 of the Tariff Act of 1930 (19 U.S.C. § 1515),
of protests filed under Section 514 of the Tariff Act of 1930 (19 U.S.C. § 1514).
       3.      Plaintiff is the importer of record and consignee of the merchandise in the entries
identified in the summons filed on February 6, 2024.
       4.      The instant action was timely commenced, all liquidated duties, charges and
exactions were paid before the commencement of this action, and all other conditions precedent
to the commencement of this action have been performed or have occurred.

                                        BACKGROUND

       5.      Pursuant to its actions imposing “Section 301” duties on China origin products,
the U.S. Trade Representative published notice of the final list of products subject to an
additional duty, a list commonly known as “List 3.” 83 Fed. Reg. 47,974 (September 21, 2018).


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USTR imposed a 10% ad valorem tariff that was set to rise automatically to 25% on January 1,
2019. Id. USTR determined that the List 3 duties would apply to all listed products that enter the
United States from China on or after September 24, 2018. Id.
       6.      The list included Samsonite products classified in 4202.11.0030, 4202.92.0400,
4202.92.3120, 4202.92.3131, 4820.10.2020 and 4820.30.0040.
       7.      Subsequently USTR issued various exclusions that exempted certain products in
these classifications from payment of the Section 301 duties.
       8.      In 85 Fed. Reg. 549 at 550 (5) (January 5, 2020), USTR issued an exclusion under
HTS 9903.88.37 for “Briefcases with outer surface of leather, each measuring no more than 37
cm by 45 cm by 17 cm (described in statistical reporting number 4202.11.0030).” (Hereafter
“Exclusion 1”). This exclusion was applicable to eligible product entered from September 24,
2018 to August 7, 2020.
       9.      In 85 Fed. Reg. 23122 at 23125 (19) (April 24, 2020), USTR issued an exclusion
under HTS 9903.88.45 for “Backpacks with hydration system, each measuring not more than 51
cm by 28 cm by 9 cm, weighing not more than 1 kg (described in statistical reporting number
4202.92.0400).” (Hereafter “Exclusion 2”). This exclusion was applicable to eligible product
entered from September 24, 2018 to August 7, 2020.
       10.     In 85 Fed. Reg. 17158 at 17163 (45) (March 26, 2020), USTR issued an exclusion
under HTS 9903.88.43 for “Backpacks with outer surface of textile materials of man-made
fibers, each measuring at least 35 cm but not more than 75 cm in height, at least 19 cm but not
more than 34 cm in width, and at least 5 cm but not more than 26 cm in depth (described in
statistical reporting number 4202.92.3120).” (Hereafter “Exclusion 3”). This exclusion was
initially applicable to eligible product entered from September 24, 2018 to August 7, 2020. The
exclusion end date was extended to goods entered on or before December 31, 2020 by 85 Fed.
Reg. 48600 at 48606 (70) (August 11, 2020) under HTS 9903.88.56.
       11.     In 85 Fed. Reg. 23122 at 23125 (21) (April 24, 2020), USTR issued an exclusion
under HTS 9903.88.43 for “Duffel bags of polyester, each measuring not more than 81 cm x 39
cm by 11 cm, weighing not more than 7 kg (described in statistical reporting number
4202.92.3131).” (Hereafter “Exclusion 4). This exclusion was applicable to eligible product
entered from September 24, 2018 to August 7, 2020.



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       12.     In 85 Fed. Reg. 23122 at 23126 (22) (April 24, 2020), USTR issued an exclusion
under HTS 9903.88.43 for “Duffel bags made predominately of man-made fibers, each
measuring not more than 98 cm x 52 cm by 17 cm, weighing not more than 7 kg. with wheels
(described in statistical reporting number 4202.92.3131).”     (Hereafter “Exclusion 5).   This
exclusion was initially applicable to eligible product entered from September 24, 2018 to August
7, 2020. The exclusion end date was extended to goods entered on or before December 31, 2020
by 85 Fed. Reg. 48600 at 48606 (71) (August 11, 2020) under 9903.88.56.
       13.     In 85 Fed. Reg. 23122 at 23126 (25) (April 24, 2020), USTR issued an exclusion
under HTS 9903.88.45 for “Padfolios of faux leather or polyester, with or without zippers, each
containing a writing pad (described in statistical reporting number 4820.10.2020).” (Hereafter
“Exclusion 6”). This exclusion was applicable to eligible product entered from September 24,
2018 to August 7, 2020.
                                         THE CLAIMS

       14.     The foregoing paragraphs are incorporated by reference in the following
paragraphs.
       15.     Product Code 124058 is a backpack with an outer surface of man-made textile
materials that was entered and liquidated under 4202.92.3120 with Section 301 duty paid.
       16.     Product Code 124058 measures 18.5 inches (46.99 cm) in height, 12.5 inches
(31.75 cm) in width and 6 inches (15.24 cm) in depth.
       17.     Product Code 124058 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       18.     Product Code 126040 is a briefcase with an outer surface of leather that was
entered and liquidated under 4202.11.0030 with Section 301 duty paid.
       19.     Product Code 126040 measures 12 inches (30.48 cm) by 16.25 inches (41.275 cm
by 4.5 inches (11.43 cm).
       20.     Product Code 126040 is within the dimensions of Exclusion 1 and should be
reliquidated with a refund of Section 301 duties.
       21.     Product Code 117224 is a wheeled duffel with an outer surface of polyester that
was entered and liquidated under 4202.92.3131 with Section 301 duty paid.
       22.     Product Code 117224 measures 23.62 inches (60 cm) by 12.99 inch (33 cm) by
5.906 inches (15 cm) in collapsed state and weighs 4.89 lbs (2.21 kg).

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       23.     Product Code 117224 is within the dimensions and weight of Exclusion 5 and
should be reliquidated with a refund of Section 301 duties.
       24.     Product Code 44089 is a flapover briefcase with an outer surface of leather that
was entered and liquidated under 4202.11.0030 with Section 301 duty paid.
       25.     Product Code 44089 measures 14 inches (35.56 cm) by 16.5 inches (41.91 cm) by
4.5 inches (11.43 cm).
       26.     Product Code 44089 is within the dimensions of Exclusion 1 and should be
reliquidated with a refund of Section 301 duties.
       27.     Product Code 44090 is a top zip briefcase with an outer surface of leather that was
entered and liquidated under 4202.11.0030 with Section 301 duty paid.
       28.     Product Code 44090 measures 31.75 cm by 40.64 cm by 12.7 cm.
       29.     Product Code 44090 is within the dimensions of Exclusion 1 and should be
reliquidated with a refund of Section 301 duties.
       30.     Product Code 53609 is a duffle bag made of polyester that was entered and
liquidated under 4202.92.3131 with Section 301 duty paid.
       31.     Product Code 53609 measures 30 inches (76.2 cm) by 15 inches (38.10 cm) by
1.247 inches (3.167 cm) in collapsed state and weighs 1.94 lbs (0.88 kgs).
       32.     Product Code 53609 is within the dimensions of Exclusion 4 and should be
reliquidated with a refund of Section 301 duties.
       33.     Product Code 67726 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
       34.     Product Code 67726 measures 44.5 cm by 31.1 cm by 20.96 cm.
       35.     Product Code 67726 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       36.     Product Code 75524 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
       37.     Product Code 75524 measures 44.70 cm by 28.95 cm by 14.22 cm.
       38.     Product Code 75524 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       39.     Product Code 88234 is a backpack made of nylon that was entered and liquidated
under 4202.92.3120 with Section 301 duty paid.


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       40.     Product Code 88234 measures 18.5 inches (47 cm) by 12.59 inches (32 cm) by
7.28 inches (18.5 cm).
       41.     Product Code 88234 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       42.     Product Code 105158 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
       43.     Product Code 105158 measures 19.6 inches (49.78 cm) by 13.19 inches (33.52
cm) by 6.4 inches (16.25 cm).
       44.     Product Code 105158 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       45.     Product Code 105159 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
       46.     Product Code 105159 measures 49.27 cm by 32.51 cm by 23.36 cm.
       47.     Product Code 105159 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       48.     Product Code 105186 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
       49.     Product Code 105186 measures 44 cm by 28.5 cm by 23 cm.
       50.     Product Code 105186 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       51.     Product Code 106501 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
       52.     Product Code 106501 measures 20 inches (50.8 cm) by 12.9 inches (33 cm) by
9.39 inches (23.87 cm).
       53.     Product Code 106501 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       54.     Product Code 116465 is a padfolio made of polyester and containing a writing
pad that was entered and liquidated under 4820.10.2020 with Section 301 duty paid.
       55.     Product Code 116465 meets the requirements of Exclusion 6 and should be
reliquidated with a refund of Section 301 duties.



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          56.   Product Code 117225 is a wheeled duffle bag made of polyester that was entered
and liquidated under 4202.92.3131 with Section 301 duty paid.
          57.   Product Code 117225 measures 20 inches (33.5 cm) by 11.5 inches (25.7 cm) by
5.906 inches (15 cm) in collapsed state and weighs 2.12 lbs (.96 kgs).
          58.   Product Code 117225 is within the dimensions and weight requirements of
Exclusion 5 and should be reliquidated with a refund of Section 301 duties.
          59.   Product Code 122035 is a hydration backpack with hydration system that was
entered and liquidated under 4202.92.0400 with Section 301 duty paid.
          60.   Product Code 122035 measures 17.6 inches (44.70 cm) by 10.8 inches (27.43 cm)
by 2 inches (5.08 cm) and weighs 1.21 lbs (0.55 kgs).
          61.   Product Code 122035 contains a hydration system and is within the dimensions
and weight requirements of Exclusion 2 and should be reliquidated with a refund of Section 301
duties.
          62.   Product Code 123267 is a backpack made of nylon that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
          63.   Product Code 123267 measures 16.53 inches (42 cm) by 12.5 inches (31.75 cm)
by 5.51 inches (14 cm).
          64.   Product Code 123267 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
          65.   Product Code 123489 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
          66.   Product Code 123489 measures 19 inches (48.26 cm) by 12.5 inches (31.75 cm)
by 8 inches (20.32 cm).
          67.   Product Code 123489 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
          68.   Product Code 124058 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
          69.   Product Code 124058 measures 18.5 inches (47 cm) by 12.2 inches (31 cm) by
6.1 inches (15.5 cm).
          70.   Product Code 124058 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.


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       71.     Product Code 124447 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
       72.     Product Code 124447 measures 16.34 inches (41.5 cm) by 11.22 inches (28.5 cm)
by 6.3 inches (16 cm).
       73.     Product Code 124447 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       74.     Product Code 124917 is a duffle bag made of polyester that was entered and
liquidated under 4202.92.3131 with Section 301 duty paid.
       75.     Product Code 124917 measures 22.047 inches (56 cm) by 13.78 inches (35 cm)
by .984 inches (2.499 cm) in collapsed state and weighs 1.010 lbs (.458 kgs).
       76.     Product Code 124917 is within the dimensions and weight requirements of
Exclusion 4 and should be reliquidated with a refund of Section 301 duties.
       77.     Product Code 125170 is a duffle bag made of polyester that was entered and
liquidated under 4202.92.3131 with Section 301 duty paid.
       78.     Product Code 125170 measures 22.047 inches (56 cm) by 13.78 inches (35 cm)
by .984 inches (2.499 cm) in collapsed state and weighs 1.01 lbs (.458 kgs).
       79.     Product Code 125170 is within the dimensions and weight requirements of
Exclusion 4 and should be reliquidated with a refund of Section 301 duties.
       80.     Product Code 125529 is a backpack made of polyester that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
       81.     Product Code 125529 measures 16.8 inches (42.67 cm) by 11.4 inches (28.95 cm)
by 6.6 inches (16.76 cm).
       82.     Product Code 125529 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.
       83.     Product Code 126038 is a briefcase with an outer surface of leather that was
entered and liquidated under 4202.11.0030.
       84.     Product Code 126038 measures 11 inches (27.94 cm) by 15.5 inches (39.37 cm)
by 2.25 inches (5.71 cm).
       85.     Product Code 126038 is within the dimensions of Exclusion 1 and should be
reliquidated with a refund of Section 301 duties.



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       86.     Product Code 126040 is a flapover briefcase with an outer surface of leather that
was entered and liquidated under 4202.11.0030.
       87.     Product Code 126040 measures 29.84 cm by 40.64 cm by 10.79 cm.
       88.     Product Code 126040 is within the dimensions of Exclusion 1 and should be
reliquidated with a refund of Section 301 duties.
       89.     Product Code 128172 is a backpack made of nylon that was entered and
liquidated under 4202.92.3120 with Section 301 duty paid.
       90.     Product Code 128172 measures 40.5 cm by 31 cm by 15 cm.
       91.     Product Code 128172 is within the dimensions of Exclusion 3 and should be
reliquidated with a refund of Section 301 duties.

       WHEREFORE, Plaintiff requests that judgment be entered overruling the Government’s
denial of Samsonite’s request that the benefits of the involved exclusions be granted to
Samsonite for the involved products detailed above, and directing the appropriate Customs
officer to reliquidate the subject entries and refund to Plaintiff any overpayment of Section 301
duties paid for these products, together with such interest as provided by law, and for such other
and necessary relief the Court deems just and appropriate under the circumstances.

Dated: August 29, 2024                               Respectfully submitted,



                                      ___________________________________
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